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 A0 245D (Rev. 12/07) Judgment in a Criminal Case for Revocations
           Sheet 1



                                   UNITED STATES DISTRICT COURT
                                                 MIDDLE District of ALABAMA

        UNITED STATES OF AMERICA                                      Judgment in a Criminal Case
                            V.                                        (For Revocation of Probation or Supervised Release)


                   JOHN DARTER                                        Case No.         2:05cr66-02-MHT                    (WO)
                                                                      USMNo.           06101-017
                                                                                         Crowell Pate DeBardeleben
                                                                                                  Defendant's Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s)         1 and 2 of the amended          petition filed on 9/20/11 of the term of supervision.

O was found in violation of condition(s)                                          after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                              Violation Ended
        1                    The defendant committed another federal, state, or local crime.                  11/1/2010
        2                    The defendant failed to complete the program and reside at the                   11/2/2010
                               Lighthouse of Tallapoosa County, Alexander City, AL as directed.




       The defendant is sentenced as provided in pages 2 through           4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
E The defendant has not violated condition(s)                             and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 4181                                           September 28, 2011
                                                                                          Date of Imposition of Judgment
Defendant's Year of Birth:        1977                                                     i-..              __________

City and State of Defendant's Residence:                                                           Signature of Judge
                    Wetumpka, AL
                                                                                 Myron H. Thompson, U.S. District Judge
                                                                                              Name and Title of Judge

                                                                                          9J?g'/n,'1
                                                                                                           Date
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AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 2— Imprisonment
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DEFENDANT:                    JOHN DARTER
CASE NUMBER:                  2:05cr66-02-MHT

                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of:

           150 Days (Time Served). The term of supervised release imposed on August 31, 2010 is REVOKED.




     E The court makes the following recommendations to the Bureau of Prisons:




     X The defendant is remanded to the custody of the United States Marshal.

     E The defendant shall surrender to the United States Marshal for this district:
          Eat ___________________ 0 a.m. E p.m. on ______
          E as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          obefore 2 p.m. on ___________________________
          E as notified by the United States Marshal.
          E as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

I have executed this judgment as follows:




          Defendantdelivered on           ___________________________________ to

at                                                    with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                           By
                                                                                            DEPUTY UNITED STATES MARSHAL
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AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 3 - Supervised Release
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DEFENDANT:     JOHN DARTER
CASE NUMBER: 2:05cr66-02-MHT
                                                           SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:

24 Months



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
      or is a student, as directed by the probation officer. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fme or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
          five days of each month;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notif' the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
11)       the defendant shall notif' the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
13)       as directed by the probation officer, the defendant shall notif' third parties of risks that may be occasioned by the
          defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant's compliance with such notification requirement.
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           Sheet 3C - Supervised Release
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DEFENDANT:    JOHN DARTER
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                                           SPECIAL CONDITIONS OF SUPERVISION



1. The defendant shall participate in a program approved by the United States Probation Officer for substance abuse, which may
include testing to determine whether he has reverted to the use of drugs. The defendant shall pay all costs associated with treatment.
2. The defendant shall participate in mental health counseling and pay all costs associated costs.
3. The defendant shall submit to a search of his person, residence, office, and vehicle pursuant to the search policy of this court.
4. The defendant shall participate in the home confinement program, with electronic monitoring to include GPS monitoring, for a
period of six months (6 Months), to begin at a time designated by the probation officer. The delendant shall follow the procedures
specified by the probation officer and pay the cost of electronic monitoring.
